
717 S.E.2d 569 (2011)
STATE of North Carolina
v.
Franklin FLOYD.
No. 81P11.
Supreme Court of North Carolina.
August 25, 2011.
Paul Y.K. Castle, Jacksonville, for Floyd, Franklin.
Brent Kiziah, Assistant Attorney General, for State of North Carolina.
Rex Gore, District Attorney, for State of North Carolina.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Defendant on the 24th of February 2011 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
"Dismissed Ex Mero Motu by order of the Court in conference, this the 25th of August 2011."
Upon consideration of the petition filed on the 24th of February 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 25th of August 2011."
